         Case 1:21-mj-00568-ZMF Document 1-1 Filed 08/18/21 Page 1 of 8




                                          AFFIDAVIT

        1.     I, Special Agent Ian Moore, am an investigative or law enforcement officer of the
United States within the meaning of Section 2501(7) of Title 18, United States Code, in that I am
empowered by law to conduct investigations of, and to make arrests for offenses enumerated in
Section 2516 of Title 18, United States Code. I have been a Special Agent with the Federal Bureau
of Investigation (hereinafter “FBI”) since September 2015 and am currently assigned to the
Toledo, Ohio Resident Agency within the Cleveland Division of the FBI. My educational
background includes study in the fields of criminal justice and law. Prior to joining the FBI, I
served as a commissioned officer in the United States Army. During my time as an FBI Special
Agent, I have investigated a variety of violations of federal law, including investigations
concerning domestic terrorism, international terrorism, white-collar crimes, hate crimes, and
public corruption.

        2.     In the course of these investigations, I have prepared and submitted numerous
affidavits and executed associated federal search and arrest operations. The facts in this affidavit
come from my personal observations, my training and experience, and information obtained from
other agents and witnesses. This affidavit is intended to show merely that there is sufficient
probable cause for the requested warrant and does not set forth all of my knowledge about this
matter.

        3.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

       4.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Michael Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

       5.      As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior of
the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

       6.      At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
         Case 1:21-mj-00568-ZMF Document 1-1 Filed 08/18/21 Page 2 of 8




windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       7.      Shortly thereafter, at approximately 2:20 p.m., members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the
United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President
Pence remained in the United States Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.

        8.      During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       9.     In January 2021, the FBI began an investigation into allegations that JODI
WILSON and COLE TEMPLE were unlawfully present inside of the U.S. Capitol building on
January 6, 2021.

        10.     The FBI queried Ohio Bureau of Motor Vehicle (OBMV) databases, which
identified WILSON and TEMPLE as both residing at an address on Black Canyon Drive in
Swanton, Ohio. OBMV records provided contact information for TEMPLE as ***-***-6714 and
WILSON as ***-***-3115. OBMV records further showed that WILSON had previously been
listed as a co-signer on TEMPLE’s drivers license, with her relationship to TEMPLE listed as
“mother.”

     11.    OBMV records further showed that WILSON previously used the name of “JODI
L. WOGGON-TEMPLE” prior to changing her driver’s license registration name to JODI LYNN
WILSON in 2015.

       12.      According to records obtained through a search warrant which was served on
Verizon, on January 6, 2021, in and around the time of the incident, the cellphones associated with
***-***-3115 and ***-***-6714 were identified as having utilized a cell site consistent with
providing service to a geographic area that included the interior of the United States Capitol
building. The FBI has reviewed the available information for these two phone numbers in order to
determine whether there was any evidence that devices associated with those numbers could have
lawfully been inside the U.S. Capitol on Building January 6, 2021. The information for those
numbers did not match any information for persons lawfully within the Capitol. Accordingly, I
believe that the individual possessing this device was not authorized to be within the U.S. Capitol
Building on January 6, 2021.

        13.    Business records obtained from Verizon identify telephone number ***-***-3115
as associated with an account owned by “JODI WOGGON-TEMPLE”; the address on the account
is the same Black Canyon Drive address in Swanton, Ohio. Business records obtained from
Verizon reveal that telephone number ***-***-6714 is also associated with the same Verizon
account in the name of “JODI WOGGON-TEMPLE.”
         Case 1:21-mj-00568-ZMF Document 1-1 Filed 08/18/21 Page 3 of 8




       14.     Open-source records indicate that the telephone number ***-***-3115 is
associated with a Telegram account utilizing the following profile image:




        15.    Open-source research identified a Facebook profile utilizing the display name “Jodi
Wilson.” This Facebook profile lists numerous biographical details, such as “Went to Swanton
High School, “Lives in Swanton, Ohio,” and “From Swanton, Ohio.” The Facebook profile uses a
profile image last updated on November 26, 2020, and a cover image last updated on October 20,
2020. A cropped version of one of those images is copied below.
         Case 1:21-mj-00568-ZMF Document 1-1 Filed 08/18/21 Page 4 of 8




       16.      A review of WILSON’s OBMV file photograph shows her appearance and physical
description to be consistent with her appearance in the preceding images retrieved from Telegram
and Facebook. A review of TEMPLE’s OBMV file photograph shows his appearance and physical
description to be consistent with that of the white male in the blue plaid shirt in the preceding
image from Facebook.

        17.    Business records show that the above Facebook account is associated with the
verified cellular telephone number of ***-***-3115, which means that the account holder
responded to a verification text sent to this phone number.

       18.     Business records obtained from Snapchat show that the telephone number ***-***-
6714 is associated with a Snapchat account with the username ctemple03 and the display name
Cole Temple.

        19.    Based on all of the foregoing, as well as the information below, your affiant
believes that WILSON uses the cellphone associated with ***-***-3115 and that TEMPLE uses
the cellphone associated with ***-***-6714, and that each were using those phone numbers on
January 6, 2021.

        20.    In the course of the FBI’s investigation, the FBI reviewed public court records
identifying WILSON’s involvement in a case concerning custody of a minor child. These records
identified a court-appointed guardian ad litem (hereafter “GAL”). The FBI interviewed the GAL
regarding reports to the court concerning WILSON’s activities on January 6, 2021. According to
the GAL, WILSON confirmed to the GAL that she had entered the U.S. Capitol on January 6,
2021, and had been accompanied by her son, TEMPLE. WILSON asserted that she had been
invited onto the steps of the Capitol building by an unidentified man that WILSON assumed to be
a congressman. WILSON then stated that a police officer then told WILSON and TEMPLE they
were allowed to go inside the U.S. Capitol building.

        21.    In the course of the FBI’s investigation, a witness (W-1) who has known TEMPLE
for several years submitted to the FBI video recordings the witness had obtained from the
ctemple03 Snapchat account, which W-1 confirmed was TEMPLE’s account. W-1 also confirmed
that TEMPLE uploaded these videos to Snapchat on January 6, 2021. Those recordings appeared
to depict both the exterior and interior of the U.S. Capitol, as seen in the screenshots from those
recordings below. Included with the recording were the captions “Shits going down” [sic] and “Go
ahead, say some shit.” A portion of this video appears to show TEMPLE inside of the U.S. Capitol,
filming himself and yelling “just broke in this bitch.”
         Case 1:21-mj-00568-ZMF Document 1-1 Filed 08/18/21 Page 5 of 8




       22.      A review of TEMPLE’s OBMV file photograph shows his appearance and physical
description to be consistent with his appearance in this image, as well as his appearance in U.S.
Capitol interior surveillance footage included below.

       23.     The FBI conducted a review of images and video captured at the U.S. Capitol on
January 6, 2021. As a result of that comparison, your affiant located and viewed video surveillance
footage obtained from the U.S. Capitol Police from security cameras located within the U.S.
Capitol building on January 6, 2021. Your affiant was then able to locate footage from two security
cameras providing coverage of the interior of the U.S. Capitol building on January 6, 2021.

        24.    Footage from those cameras show individuals matching WILSON and TEMPLE’s
appearance inside the U.S. Capitol from approximately 3:01 p.m. EST to 3:18 p.m. EST on January
6, 2021. In these videos, TEMPLE is wearing a dark hooded sweatshirt, with the hood pulled over
a dark blue knit cap. The knit cap bears white lettering, visible across the front, which is assessed
         Case 1:21-mj-00568-ZMF Document 1-1 Filed 08/18/21 Page 6 of 8




to be a mirror image of the word “AMERICA,” as if the knit cap is turned inside out. Additionally,
TEMPLE is wearing a royal blue neck gaiter. This attire matches his apparel from his self-posted
Snapchat videos described above. A woman with blond hair, who walks with TEMPLE at all times
during these videos, appears to match the physical appearance of WILSON. Still photographs from
these videos are included below.
         Case 1:21-mj-00568-ZMF Document 1-1 Filed 08/18/21 Page 7 of 8




       25.     In the identified surveillance footage, both WILSON and TEMPLE can be observed
holding up cell phones as if using them to film or photograph their surroundings.




        26.     On August 12, 2021, WILSON and TEMPLE were interviewed outside their
residence. WILSON initially denied going inside the U.S. Capitol Building, but admitted that she
had traveled to Washington, D.C. and was outside the Capitol Building on January 6, 2021. After
agents showed her surveillance photographs of her inside the building, WILSON stated that police
officers had “held the door open for [her]” and that an officer had “told me that’s what I could do,
and I went in, and that’s all that I did.”

        27.    TEMPLE, when separately interviewed on August 12, 2021, stated that he and his
mother traveled to Washington, D.C. to attend what he termed a protest at the U.S. Capitol
Building on January 6, 2021. TEMPLE stated that while outside the Capitol Building, he saw
protestors pushing police barricades, saw the police deploy tear gas against the protestors, and that
he then walked up the steps to the Capitol Building. TEMPLE stated that he entered the building
with the second wave of protesters to enter. TEMPLE stated that when he entered, it appeared as
though law enforcement allowed people inside. TEMPLE stated that he remained inside for
roughly 10 or more minutes before law enforcement wearing riot gear were able to shepherd him
and his group (including WILSON) out of the Building. TEMPLE further admitted posting photos
or videos of himself to Snapchat while inside the Building.

       28.   Based on the foregoing, your affiant submits that there is probable cause to believe
that JODI WILSON and COLE TEMPLE violated 18 U.S.C. § 1752(a)(1) and (2), which makes
         Case 1:21-mj-00568-ZMF Document 1-1 Filed 08/18/21 Page 8 of 8




it a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; or attempt
or conspire to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance. As noted above, WILSON and TEMPLE were within a
posted, cordoned off, or otherwise restricted area of a building or grounds where the Vice President
was temporarily visiting on January 6, 2021.

        29.     Your affiant submits there is also probable cause to believe that JODI WILSON
and COLE TEMPLE violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to
willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress, or (G) parade, demonstrate, or picket in any
of the Capitol Buildings.




                                                      _________________________________
                                                      IAN MOORE
                                                      SPECIAL AGENT, FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 18th day of August, 2021.
                                                                        2021.08.18
                                                                        17:14:13 -04'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE
